      Case 6:23-bk-10070-WJ Doc 185 Filed 06/12/24 Entered 06/12/24 15:45:37                                                                         Desc
                          Ch 7 First Mtg Corp No POC Page 1 of 2
Information to identify the case:
Debtor
                Warner Science Applications                                                     EIN:   95−4889014
                Name

United States Bankruptcy Court       Central District of California                             Date case filed in chapter:          11        1/9/23
                                                                                                Date case converted to chapter:
Case number:        6:23−bk−10070−WJ                                                                                                  7       6/3/24

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             05/24

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Warner Science Applications

2. All other names used in the dba EAG, dba Dealer Offroad Customs, dba Vicious Offroad
   last 8 years
3. Address                                   9155 Archibald Ave.
                                             Ste. 105
                                             Rancho Cucamonga, CA 91730

4. Debtor's attorney                         David L. Neale                                                       Contact phone 310−229−1234
                                             Levene, Neale, Bender, Yoo & Golubchik L.L.P.                        Email ____________________
    Name and address                         2818 La Cienega Avenue
                                             Los Angeles, CA 90034

5. Bankruptcy trustee                        Arturo Cisneros (TR)                                                 Contact phone (951) 328−3124
                                             3403 Tenth Street, Suite 714                                         Email ____________________
    Name and address                         Riverside, CA 92501

6. Bankruptcy clerk's office                 3420 Twelfth Street,                                                 Hours open:
                                             Riverside, CA 92501−3819                                             9:00AM to 4:00 PM
    Documents in this case may be
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone 855−460−9641
    at this office or online at
    https://pacer.uscourts.gov.                                                                                   Dated: 6/12/24

7. Meeting of creditors                      July 18, 2024 at 10:00 AM                                            Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If     Zoom video meeting. Go to
    questioned under oath by the             so, the date will be on the court docket.                         Zoom.us/join, Enter Meeting ID 226 500
    trustee and by creditors.                                                                                  5961, and Passcode 3308934760, OR call
    Creditors may attend, but are not        The trustee is designated to preside at the meeting of creditors. 1 909 498 9229
    required to do so.                       The case is covered by the chapter 7 blanket bond on file with
                                             the court.                                                        For additional meeting information go to
                                                                                                               https://www.justice.gov/ust/moc.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.
                                                                                                                                                             185/YG
                                                                                                               For more information, see page 2 >
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      Case 6:23-bk-10070-WJ Doc 185 Filed 06/12/24 Entered 06/12/24 15:45:37                                                                Desc
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Debtor Warner Science Applications                                                                              Case number 6:23−bk−10070−WJ

9. Creditors with a foreign            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                             extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                       any questions about your rights in this case.


10. Failure to File a Statement        IF THE DEBTOR HAS NOT FILED A STATEMENT AND/OR SCHEDULE(S) AND/OR OTHER REQUIRED
    and/or Schedule(s)                 DOCUMENTS, the debtor must do so, or obtain an extension of time to do so, within 14 days of the petition
                                       filing date. Failure to comply with this requirement, or failure to appear at the initial section 341(a) meeting of
                                       creditors and any continuance, may result in dismissal of the case, unless leave of court is first obtained. If the
                                       debtor's case has not already been dismissed, AND DEBTOR FAILS TO DO ONE OF THE FOLLOWING
                                       WITHIN 45 DAYS AFTER THE PETITION DATE, subject to the provisions of Bankruptcy Code section
                                       521(i)(4), the court WILL dismiss the case effective on the 46th day after the petition date without further notice:
                                       (1) file all documents required by Bankruptcy Code section 521(a)(1); or (2) file and serve a motion for an order
                                       extending the time to file the documents required by this section.


11. Bankruptcy Fraud and               Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud Complaint
    Abuse                              Coordinator, Office of the United States Trustee, 3801 University Avenue Suite 720, Riverside, CA
                                       92501−3200.

                                                                                                       For more information, see page 1 >




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